Case:16-17141-JGR Doc#:77 Filed:06/11/18               Entered:06/11/18 16:22:41 Page1 of 2




                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO


In re:                                                        Case No. 16-17141-JGR


Dennis K. Obduskey,                                                   (Chapter 13)


               Debtor.                                     Judge Joseph G. Rosania Jr.



                     REQUEST FOR SPECIAL NOTICE PURSUANT TO
                       BANKRUPTCY RULES 2002, 9014 AND 7004

       PLEASE TAKE NOTICE that McCarthy & Holthus, LLP has been retained by Wells
Fargo Bank, N.A. in the above-referenced bankruptcy case.

        McCarthy & Holthus, LLP and Wells Fargo Bank, N.A. hereby request special notice of
all matters which must be noticed pursuant to the Bankruptcy and Local rules at the following
addresses:
         Wells Fargo Bank, N.A.                     Ilene Dell'Acqua, Esq.
         Default Document Processing                c/o McCarthy & Holthus, LLP
         N9086-01Y                                  7700 E. Arapahoe Road, Ste. 230
         100 Blue Gentian Road                      Centennial, CO 80112
         Eagan, MN 55121-7700
       Any appearances or filings of other documents in the instant case shall not constitute a
waiver of Fed.R. Bankr. Rule 7004. Wells Fargo Bank, N.A. must be served directly and does
not authorize McCarthy & Holthus, LLP to act as its agent for purposes of service under Fed.R.
Bankr. Rule 7004.

Dated: 6/11/2018          McCarthy & Holthus, LLP

                          /s/ Ilene Dell'Acqua
                          Holly Shilliday, Esq. Atty. Reg. No. 24423
                          Ilene Dell'Acqua, Esq. Atty. Reg. No. 31755
                          7700 E. Arapahoe Road, Ste. 230
                          Centennial, CO 80112
                          Telephone: 877-369-6122
                          E-mail: idellacqua@mccarthyholthus.com


                                                1
                                                                                     File No. CO-16-128403
                                                         Request for Special Notice, Case No. 16-17141-JGR
Case:16-17141-JGR Doc#:77 Filed:06/11/18              Entered:06/11/18 16:22:41 Page2 of 2




                                 CERTIFICATE OF SERVICE

        On 6/11/2018, I served the foregoing document on the following individuals by
electronic means through the Court’s ECF program

TRUSTEE                          DEBTOR(S) COUNSEL                  US TRUSTEE
Douglas B. Kiel                  Jane M. Roberson                   USTPRegion19.DV.ECF@usdoj.go
ecfmail@denver13.com             Roberson@JustAskJane.info          v


       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Dated: 6/11/2018                                              /s/ Amy Shaw
                                                              Amy Shaw

        The undersigned certifies that on 6/11/2018, by prepaid first class mail a copy of the
foregoing document was served on all parties against whom relief is sought and those otherwise
entitled to service pursuant to Fed.R.Bankr.P. and these L.B.R. at the following addresses:

       DEBTOR
       Dennis K. Obduskey, 132 Wagon Tongue Rd, Bailey, CO 80421

       SPECIAL NOTICE(S)
       Synchrony Bank c/o Recovery Management Systems Corporation, Attn: Managing
       Agent, 25 SE 2nd Avenue, Suite 1120, Miami, FL 33131



       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Dated: 6/11/2018                                              /s/ Hue Banh
                                                              Hue Banh




                                                2
                                                                                    File No. CO-16-128403
                                                        Request for Special Notice, Case No. 16-17141-JGR
